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                    UNITED STATES COURT OF INTERNATIONAL TRADE
                      Before the Honorable Claire R. Kelly, Judge

                                    )
STUPP CORPORATION, IPSCO            )
TUBULARS INC., and WELSPUN          )
TUBULAR LLC USA,                    )
                                    )
      Plaintiffs,                   )
                                    )
              and                   )
                                    )
MAVERICK TUBE CORPORATION,          )
                                    )
      Plaintiff-Intervenor,         )
                                    )
              v.                    )               Consol. Court No. 15-00334
                                    )
UNITED STATES,                      )
                                    )
      Defendant,                    )
                                    )
              and                   )
                                    )
SEAH STEEL CORPORATION and          )
HYUNDAI STEEL COMPANY,              )
                                    )
      Defendant-Intervenors.        )
____________________________________)

          WELSPUN TUBULAR LLC USA’S REPLY TO SEAH STEEL
     CORPORATION’S COMMENTS ON THE REMAND REDETERMINATION

                                             Roger B. Schagrin
                                             Jeffrey D. Gerrish
                                             Saad Y. Chalchal*
                                             SCHAGRIN ASSOCIATES
                                             900 Seventh St. N.W. Suite 500
                                             Washington, D.C. 20001
                                             (202) 223-1700

                                             Counsel for Welspun Tubular LLC USA

Date: August 15, 2022                        *Only admitted in New York and New
                                             Jersey. Practice limited to matters before
                                             federal courts and agencies.
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                     UNITED STATES COURT OF INTERNATIONAL TRADE
                       Before the Honorable Claire R. Kelly, Judge

                                    )
STUPP CORPORATION, IPSCO            )
TUBULARS INC., and WELSPUN          )
TUBULAR LLC USA,                    )
                                    )
      Plaintiffs,                   )
                                    )
              and                   )
                                    )
MAVERICK TUBE CORPORATION,          )
                                    )
      Plaintiff-Intervenor,         )
                                    )
              v.                    )                     Consol. Court No. 15-00334
                                    )
UNITED STATES,                      )
                                    )
      Defendant,                    )
                                    )
              and                   )
                                    )
SEAH STEEL CORPORATION and          )
HYUNDAI STEEL COMPANY,              )
                                    )
      Defendant-Intervenors.        )
____________________________________)

           WELSPUN TUBULAR LLC USA’S REPLY TO SEAH STEEL
      CORPORATION’S COMMENTS ON THE REMAND REDETERMINATION

       Welspun Tubular LLC USA (“Welspun Tubular”) respectfully submits this reply to

comments filed by SeAH Steel Corporation (“SeAH”) regarding the remand redetermination

issued by the U.S. Department of Commerce (“Commerce”) in response to the Court’s remand

order (ECF No. 192).1 On remand, in accordance with instructions from this Court and the U.S.

Court of Appeals for the Federal Circuit (“Federal Circuit”), Commerce reviewed over a


1
    SeAH’s remand comments are hereinafter referred to as “SeAH’s Comments” (ECF Nos.
    216 and 217).
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thousand pages of academic literature on the Cohen’s d test and explained that while the

statistical concepts of normality, sufficient observation size, and roughly equal variances are

relevant when applying the Cohen’s d test to sampled data to ensure the results are statistically

significant, they are not relevant when Commerce applies the Cohen’s d test to the entire

universe of a respondent’s U.S. sales to assess whether prices differ significantly. See generally

Final Results of Remand Redetermination Pursuant to Court Remand, dated April 4, 2022, ECF

No. 208-1 (“Remand Redetermination”). Welspun Tubular fully supports the Remand

Redetermination and agrees with Commerce’s explanation that its use of the Cohen’s d test does

not violate the assumptions that the literature on the record associates with statistical significance

and research involving sampled data. SeAH continues to disagree with the end result but fails to

satisfy the high bar of demonstrating that Commerce’s methodological choice of using the

Cohen’s d test to determine whether prices differ significantly is an unreasonable exercise of the

agency’s discretion to fill the gap that Congress left in the statute. As demonstrated below, and

contrary to SeAH’s contentions, the Remand Redetermination complies with the remand order, is

supported by substantial evidence, and is otherwise in accordance with law. Therefore, the Court

should enter judgment sustaining the Remand Redetermination.

                      BACKGROUND AND PROCEDURAL HISTORY

I.     Commerce’s Final Determination in the Investigation

       This action stems from Commerce’s affirmative final determination in the less-than-fair-

value investigation of welded line pipe from the Republic of Korea. See Welded Line Pipe from

the Republic of Korea, 80 Fed. Reg. 61,366 (Dep’t Commerce Oct. 13, 2015) (“Final

Determination”), and accompanying Issues and Decision Memorandum (“IDM”), as amended by

Welded Line Pipe from the Republic of Korea, 80 Fed. Reg. 69,637 (Dep’t Commerce Nov. 10,



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2015). In the investigation, Commerce used its differential pricing analysis to examine each

respondent’s pricing behavior for its sales of subject merchandise to the United States. The

results of that analysis determined the appropriate method for comparing normal value to export

price in the dumping margin calculations — either the default method that compares weighted-

average normal values to weighted-average export prices and provides offsets for negative

individual dumping margins (i.e., the average-to-average or A-A method) or an alternative

method that compares weighted-average normal values to the export prices of individual

transactions and zeroes out negative individual dumping margins (i.e., the average-to-transaction

or A-T method). See 19 C.F.R. § 351.414(b).

       For SeAH, the results of the differential pricing analysis confirmed that there existed a

pattern of export prices that differed significantly among purchasers, regions, or time periods,

and the default average-to-average comparison method could not account for that pattern of

significant price differences. See Final Determination IDM at 4. Because 39.72 percent of the

value of SeAH’s U.S. sales passed the Cohen’s d test, Commerce used the “mixed” alternative

method to calculate SeAH’s dumping margin. Id. In other words, it applied the average-to-

transaction method to sales that passed the Cohen’s d test and the average-to-average method to

sales that did not. Id. Using this comparison method, Commerce calculated a 2.53 percent ad

valorem weighted-average dumping margin for SeAH. See Final Determination, 80 Fed. Reg. at

61,367. On December 1, 2015, following the International Trade Commission’s affirmative final

material injury determination, Commerce published an antidumping duty order on welded line

pipe from Korea. See Welded Line Pipe from the Republic of Korea and the Republic of Turkey,

80 Fed. Reg. 75,056 (Dep’t Commerce Dec. 1, 2015). SeAH subsequently filed this action to




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contest the Final Determination and challenged various aspects of the differential pricing

analysis, including the Cohen’s d test.

II.    This Court’s Decision in Stupp I

       In its initial decision in this action, this Court denied SeAH’s motion for judgment on the

agency record and, in relevant part, held that Commerce’s application of the differential pricing

analysis was supported by substantial evidence and in accordance with law. See Stupp Corp. v.

United States, 359 F. Supp. 3d 1293, 1302-06 (Ct. Int’l Trade 2019) (“Stupp I”). The Court

explained that the differential pricing analysis “constitutes a reasonable methodology for

identifying patterns of prices that differ significantly” and noted that both this Court and the

Federal Circuit have upheld the steps underlying the analysis. Id. at 1304 and n.18. Addressing

SeAH’s specific arguments on Commerce’s application of the Cohen’s d test, the Court stated

that “the relevant inquiry is not whether Commerce applies its differential pricing analysis in

accord with experts’ guidance on the use of Cohen’s d” and concluded that SeAH had failed to

explain why Commerce’s application of the differential pricing analysis in the investigation was

an unlawful or unreasonable way of implementing 19 U.S.C. § 1677f-1(d)(1)(B). Id. at 1305.

SeAH subsequently filed a motion requesting reconsideration of Stupp I, which the Court denied

because SeAH failed to demonstrate manifest error with the Court’s reasoning for sustaining

Commerce’s application of the differential pricing analysis. See Stupp Corp. v. United States,

365 F. Supp. 3d 1373 (Ct. Int’l Trade 2019). After remanding the case back to Commerce two

times on other issues, the Court issued its final judgment. See Stupp Corp. v. United States, 413

F. Supp. 3d 1326 (Ct. Int’l Trade 2019); Stupp Corp. v. United States, 435 F. Supp. 3d 1307 (Ct.

Int’l Trade 2020).




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III.   The Federal Circuit’s Decision in Stupp II

       SeAH appealed Stupp I to the Federal Circuit. In its decision in that appeal, the Federal

Circuit recognized that “there is no statutory language telling Commerce how to detect patterns

of significantly differing export prices” and “Commerce therefore has discretion to determine a

reasonable methodology to implement the statutory directive.” Stupp Corp. v. United States, 5

F.4th 1341 (Fed. Cir. 2021) (“Stupp II”). Applying the reasonableness standard, the Federal

Circuit affirmed the specific components of Commerce’s differential pricing analysis (i.e., the

Cohen’s d test, the ratio test, and the meaningful difference test) as a reasonable methodological

choice to administer the antidumping duty law and assess whether the statutory preconditions to

calculate dumping margins using an alternative comparison method under 19 U.S.C. § 1677f-

1(d)(1)(B) are satisfied. Id. at 1351-1357. However, the Federal Circuit stated that SeAH’s

arguments and statistical literature raise concerns “relating to Commerce’s application of the

Cohen’s d test in this case and, more generally, in adjudications in which the data groups being

compared are small, are not normally distributed, and have disparate variances.” Id. 1357. Thus,

the only issue remaining in this action is with respect to one aspect of the differential pricing

analysis, the application of certain statistical concepts to the Cohen’s d test.

       According to the Federal Circuit, violating the assumptions of normality, sufficient

observation size, and roughly equal variances that the academic literature associates with the

Cohen’s d test can subvert the usefulness of the test and produce an upward bias that results in

more sales passing the test. Id. at 1357-59. The Federal Circuit noted that Commerce relied on

the results of the differential pricing analysis (and the sales that passed the Cohen’ d test) in

deciding to apply the mixed method to calculate SeAH’s 2.53 percent weighted-average dumping

margin. Id. at 1360. Based on these concerns, the Federal Circuit remanded the case back to this



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Court “to give Commerce an opportunity to explain whether the limits on the use of the Cohen’s

d test prescribed by Professor Cohen and other authorities were satisfied in this case or whether

those limits need not be observed when Commerce uses the Cohen’s d test in less-than-fair-value

adjudications.” Id. at 1360. The Federal Circuit also “invite{d} Commerce to clarify its argument

that having the entire universe of data rather than a sample makes it permissible to disregard the

otherwise-applicable limitations on the use of the Cohen’s d test.” Id. Importantly, the Federal

Circuit did not hold that Commerce’s use of the Cohen’s d test was unlawful. In fact, the Federal

Circuit generally approved Commerce’s use of “a conventional method for quantifying

comparisons across discrete groups: counting the number of divergent sales prices, as identified

by an effect-size test, and calculating the population percentage of those divergent sales prices.”

Id. at 1354. On October 8, 2022, the Federal Circuit issued its mandate (ECF No. 191), and this

Court issued its order remanding the matter for Commerce to conduct further proceedings in

conformity with Stupp II (ECF No. 192).

IV.      Commerce’s Remand Redetermination

         On remand, Commerce reopened the record for the limited purpose of requesting SeAH

to submit certain publications referenced by the Federal Circuit in Stupp II that were not on the

administrative record. See Commerce Record Reopening Memo, Remand P.R. 1 (Oct. 29,

2021).2 SeAH filed a 1,717-page submission with the requested materials. See SeAH Factual

Information Submission, Remand P.R. 8 and Remand C.R. 12–24 (Nov. 12, 2021). Welspun




2
      Citations to the public record documents are designated as “P.R.” (public investigation
      record) or “Remand P.R.” (public remand record). Citations to confidential record documents
      containing business proprietary information are designated as “C.R.” (confidential
      investigation record) or “Remand C.R.” (confidential remand record). Although we cite to
      confidential record documents to aid the Court in its review, this brief does not contain any
      business proprietary information.

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Tubular subsequently filed a submission that provided excerpts of documents omitted from the

public version of SeAH’s submission. See Welspun Tubular Submission to Rebut, Clarify, or

Correct SeAH Factual Information, Remand P.R. 13 (Nov. 19, 2021). Commerce released its

draft redetermination and invited interested parties to comment. See Draft Results of

Redetermination, Remand P.R. 14 (Mar. 8, 2022). In response to requests from SeAH,

Commerce extended the deadline for interested parties to submit comments on the draft

redetermination until March 21, 2022. See Commerce First Extension Memo, Remand P.R. 19

(Mar. 11, 2022); Commerce First Extension Memo Clarification, Remand P.R. 20 (Mar. 12,

2022); and Commerce Second Extension Memo, Remand P.R. 22 (Mar. 15, 2022).

        On April 4, 2022, after considering comments submitted by SeAH and Welspun Tubular,

Commerce filed its Remand Redetermination with the Court. Commerce concluded that the

academic materials referenced in Stupp II “address circumstances which are outside of the

context in which Commerce utilizes its Cohen’s d test.” Remand Redetermination at 10.

Specifically, the assumptions of normality of distribution, number of observations, and

homogeneity of variances “are relevant when using a sample of data to ensure that the sample

statistically represents the entire population of data (i.e., the statistical significance of the

analysis).” Id. As explained throughout the Remand Redetermination, Commerce examines the

entire population of a respondent’s U.S. sales when it applies its differential pricing analysis and

calculates the actual effect size using the Cohen’s d test in less-than-fair-value investigations.

The remand also fully addressed SeAH’s objections to Commerce’s use of the Cohen’s d test.

See id. at 33-64. The Remand Redetermination made no changes to SeAH’s 2.53 percent

weighted-average dumping margin.




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                                           ARGUMENT

I.      Legal Standards

        A.      Standard of Review

        The standard of review requires that the Court sustain any determination, finding, or

conclusion by Commerce unless it is “unsupported by substantial evidence on the record, or

otherwise not in accordance with law” 19 U.S.C. § 1516a(b)(1)(B)(i). This standard applies

equally to remand redeterminations. See, e.g., Kyocera Solar, Inc. v. United States, 253 F. Supp.

3d 1294, 1305 (Ct. Int’l Trade 2017) (applying the same standard of review for a less-than-fair-

value investigation to a remand redetermination). Remand redeterminations are also reviewed for

compliance with the Court’s remand order. Xinjiamei Furniture (Zhangzhou) Co. v. United

States, 968 F. Supp. 2d 1255, 1259 (Ct. Int’l Trade 2014).

        B.      Framework for Determining the Appropriate Comparison Method to
                Calculate Dumping Margins

        In general, the statute provides that Commerce will calculate dumping margins in

antidumping duty investigations using the average-to-average method.3 19 U.S.C.

§ 1677f-1(d)(1)(A). The average-to-average method has been the norm for investigations since

Congress passed the Uruguay Round Agreements Act. See Apex Frozen Foods Pvt. Ltd. v. United

States, 862 F.3d 1337, 1341 (Fed. Cir. 2017); see also Section 229 of the Uruguay Round

Agreements Act, Pub. L. No. 103-465, 108 Stat. 4809 (1994). However, the statute provides for

Commerce to use the average-to-transaction method in an investigation as an alternative to the

average-to-average method if certain statutory conditions are met. Specifically, the average-to-


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     The statute also provides the option to use the transaction-to-transaction comparison method
     (i.e., comparing the normal values of individual transactions to the export prices of individual
     transactions), but this method is used only in “unusual situations, such as when there are very
     few sales of subject merchandise and the merchandise sold in each market is identical or very
     similar or is custom-made.” 19 C.F.R. § 351.414(c)(2).

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transaction method may be used if “(i) there is a pattern of export prices (or constructed export

prices) for comparable merchandise that differ significantly among purchasers, regions, or

periods of time, and (ii) {Commerce} explains why such differences cannot be taken into

account using {the average-to-average or transaction-to-transaction methods}.” 19 U.S.C.

§ 1677f-1(d)(1)(B). The statute permits the use of the average-to-transaction method to uncover

“targeted” or “masked” dumping. Apex, 862 F.3d at 1341-42. If the two statutory preconditions

are satisfied, “Commerce’s decision to consider applying the average-to-transaction method is

within its discretionary power.” Stupp II, 5 F.4th at 1351-52.

       As the Federal Circuit has recognized, “there is no statutory language telling Commerce

how to detect patterns of significantly differing export prices.” Stupp II, 5 F.4th at 1354. By not

specifying a methodology, Congress “left a gap for {Commerce} to fill.” Chevron, U.S.A., Inc. v.

National Resources Defense Council, Inc., 467 U.S. 837, 843 (1984). When “a statute fails to

make clear any Congressionally mandated procedure or methodology for assessment of the

statutory tests,” Commerce “may perform its duties in the way it believes most suitable.” JBF

RAK LLC v. United States, 790 F.3d 1358, 1363 (Fed. Cir. 2015) (internal quotations omitted). It

is well-established that Commerce has the discretion to choose a reasonable methodology to

assess whether the statutory criteria under 19 U.S.C. § 1677f-1(d)(1)(B) are satisfied. Id.; Apex,

862 F.3d at 1345-46. Indeed, Commerce is owed “tremendous deference” because it is the

“master of antidumping law” and has expertise in the “complex economic and accounting

decisions of a technical nature” required to administer the statute. PSC VSMPO-Avisma Corp. v.

United States, 688 F.3d 751, 764 (Fed. Cir. 2012) (quoting Thai Pineapple Pub. Co. v. United

States, 187 F.3d 1362, 1365 (Fed. Cir. 1999), and Fujitsu Gen. Ltd. v. United States, 88 F.3d

1034, 1039 (Fed. Cir. 1996)). The methodology Commerce ultimately adopts is presumed to be



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correct. Shanxi Hairui Trade Co. v. United States, 39 F.4th 1357, 1361 (Fed. Cir. 2022). Thus,

Commerce has wide latitude in choosing a methodology, and the chosen methodology must be

upheld so long as the choice is a reasonable means of implementing the statute.

       Commerce’s implementing regulation states that the average-to-average comparison

method will be used “unless {Commerce} determines another method is appropriate in a

particular case.” 19 C.F.R. § 351.414(c)(1). The regulation does not specify which methodology

should be used to determine whether to apply the average-to-average or average-to-transaction

comparison method under 19 U.S.C. § 1677f-1(d)(1)(B). Instead, Commerce has chosen to

conduct the analysis on a case-by-case basis, and Commerce’s methodological approach has

evolved over time. Apex Frozen Foods Private Ltd. v. United States, 144 F. Supp. 3d 1308, 1320

(Ct. Int’l Trade 2016) (“Commerce’s approach to uncovering dumping has developed, and

continues to develop, over time as foreshadowed by the Supreme Court in Chenery.”); see also

id. at n.13 (summarizing the methodologies previously used to address targeted dumping).

       For nearly a decade, Commerce’s differential pricing analysis has been used in less-than-

fair-value investigations as a way to decide whether a respondent’s dumping margin should be

determined using the default average-to-average or the alternative average-to-transaction

method. Differential Pricing Analysis; Request for Comments, 79 Fed. Reg. 26,720 (Dep’t

Commerce May 9, 2014) (announcing the development of the differential pricing analysis and its

application in the 2013 xanthan gum investigations). Commerce has explained the mechanics of

its differential pricing analysis each time it has been applied. Final Determination IDM at 7-26.

This Court and the Federal Circuit also have provided a detailed description of the analysis. See,

e.g., Apex, 144 F. Supp. 3d at 1322-37; Stupp II, 5 F.4th at 1346-48. The differential pricing

analysis is a statutorily consistent and statistically sound methodology that has generally been



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upheld. See, e.g., Stupp II, 5 F.4th at 1351-57; Apex, 144 F. Supp. 3d at 1314-37, aff’d, 862 F.3d

1337 (Fed. Cir. 2017); Soc Trang Seafood Joint Stock Co. v. United States, 321 F. Supp. 3d 1329,

1335-41 (Ct. Int’l Trade 2018).

II.    Commerce’s Remand Redetermination Complies With the Remand Order, Is
       Supported By Substantial Evidence, and Is Otherwise In Accordance With Law

       Commerce complied with the Court’s order directing Commerce to conduct further

proceedings in conformity with the Federal Circuit’s decision in Stupp II. ECF No. 192. The

Federal Circuit generally approved the specific components of Commerce’s differential pricing

analysis as a reasonable methodological approach to address 19 U.S.C. § 1677f-1(d)(1)(B). Stupp

II, 5 F.4th at 1351-57. As the Federal Circuit stated:

       At the highest level of abstraction, Commerce is using a conventional method for
       quantifying comparisons across discrete groups: counting the number of divergent
       sales prices, as identified by an effect-size test, and calculating the population
       percentage of those divergent sales prices. We hold that general approach to be
       reasonable.

Id. at 1354. However, based on certain statistical literature on the Cohen’s d test introduced by

SeAH in the court proceedings, the Federal Circuit expressed concerns with Commerce’s

application of the Cohen’s d test as a preliminary step in the differential pricing analysis to

identify whether and, if so, the extent to which a respondent’s prices in the United States differ

among purchasers, regions, or time periods. Id. at 1357-60. The Federal Circuit did not hold that

Commerce’s use of the Cohen’s d test was unlawful. Rather, the Federal Circuit remanded the

case for Commerce “to explain whether the limits on the use of the Cohen’s d test prescribed by

Professor Cohen and other authorities were satisfied in this case or whether those limits need not

be observed when Commerce uses the Cohen’s d test in less-than-fair-value adjudications.” Id. at

1360. The Remand Redetermination reasonably explains that the latter is the case with respect to

Commerce’s use of the Cohen’s d test in less-than-fair-value investigations and that it did not


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depart from the statistical literature’s description of the appropriate application of the Cohen’s d

test.

        In accordance with this Court’s order, Commerce conducted the remand proceeding in

conformity with the Federal Circuit’s decision in Stupp II. Specifically, Commerce reopened the

record to allow consideration of the academic literature on the Cohen’s d test that the Federal

Circuit referenced in its decision. Commerce Memo Reopening Record, Remand P.R. 1 (Oct. 29,

2021). The requested publications were submitted on the remand record by SeAH and Welspun

Tubular. See SeAH Factual Information Submission, Remand P.R. 8 and Remand C.R. 12–24

(Nov. 12, 2021); Welspun Tubular Submission to Rebut, Clarify, or Correct SeAH Factual

Information, Remand P.R. 13 (Nov. 19, 2021). After considering the new materials on the record

and interested party arguments, Commerce concluded that normality, observation size, and

homogeneity of variances are statistical concepts that are relevant only when applying the

Cohen’s d test to sampled data to ensure that the calculation of the estimated effect size is

statistically significant. See Remand Redetermination at 10-33. Conversely, these statistical

concepts are not relevant when the Cohen’s d test is used to calculate the actual effect size based

on the full population of a respondent’s U.S. sales. In other words, normality, sufficient

observation size, and equal variances are “limits {that} need not be observed when Commerce

uses the Cohen’s d test in less-than-fair-value adjudications.” Stupp II, 5 F.4th at 1360.

        Citing to the academic literature on the record, Commerce addressed the distinction

between statistical and practical significance (Remand Redetermination at 11-14), the importance

of examining the entire universe of data rather than a sample (id. at 14-16), the usefulness of Dr.

Cohen’s thresholds to interpret effect size and the extent of price differences (id. at 16-19), the

academic materials cited by the Federal Circuit in Stupp II on the assumed parameters associated



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with the Cohen’s d test (id. at 19-25), and the Federal Circuit’s specific concerns on prices in a

test group that “hover around the same value.” Id. at 25-33. Each of these topics is discussed in

more detail below to demonstrate that Commerce’s explanation on remand is supported by

substantial evidence and sufficiently addresses the Federal Circuit’s concerns regarding

Commerce’s use of the Cohen’s d test.

        First, Commerce explained that the differential pricing analysis “uses the Cohen’s d test

to measure the practical significance of the difference in the actual real-world pricing, rather

than statistical significance.” Id. at 12 (emphasis in original). A statistically significant result

means that the difference in the pricing is unlikely to be the result of chance, and a “t-test” is one

way to measure statistical significance to test whether the null hypothesis is false. See id. (citing

publications by Dr. Cohen and Dr. Ellis at Remand P.R. 13). On the other hand, practical

significance refers to “the difference between the means of the two sets of data, as measured by

an ‘effect size’ such as the Cohen’s d coefficient.” Id. Practical significance is “a true measure of

the significance of the difference.” Id. (citing publication by Professor Coe at Remand P.R. 8).

As Commerce explained, statistical significance and practical significance are “independent of

one another.” Id. at 14. Statistical significance is frequently discussed in conjunction with effect

size calculations because, in the world of statistical science, effect size generally is an estimated

calculation based on a sample of data from a larger population. Calculating the actual effect size

based on an entire population is usually not feasible. See id. at 13. Accordingly, “{w}hen the

results of the analysis are based on sample-based observations, a researcher must consider the

statistical significance of the results along with the practical significance of the results.” Id. In

contrast, the Cohen’s d test used in the differential pricing analysis “relies on the entire universe




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or population of sales, which obviates the need for an analysis of statistical significance and the

related underlying statistical criteria.” Id. at 14.

        Second, as instructed by the Federal Circuit, Commerce “clarif{ied} its argument that

having the entire universe of data rather than a sample makes it permissible to disregard the

otherwise-applicable limitations on the use of the Cohen’s d test.” Stupp II, 5 F.4th at 1360.

Commerce explained that the statute requires it “to consider, when addressing the pattern

requirement, the pricing behavior to the test group separate from the pricing behavior to the

comparison group.” Remand Redetermination at 15. The test group and the comparison group

each include “separate populations of sales prices” that are not sampled and instead represent “all

of the sales of the comparable merchandise to each group.” Id. This means that “the sales to each

of these two groups, the test and comparison group, themselves constitute the full population of

data in the context of the calculation of the mean, standard deviation, and Cohen’s d coefficient

for the purpose of the pattern requirement.” Id. Normal distribution, sufficient observations, and

equal variances are criteria “related to the statistical significance of sampled data and establish

the reliability of an estimated parameter (e.g., mean) based on the sample data to be within a

determined confidence interval of the actual parameter.” Id. There is an inherent risk of error

when calculating an estimate based on sampled data. But when the Cohen’s d test is used as part

of Commerce’s differential pricing analysis, there is no risk of error because “the calculated

parameters are the parameters of the entire population and not an estimate of the parameters

based on a sample.” Id. at 16. Said differently, “the means, standard deviations, and Cohen’s d

coefficients calculated for SeAH are not estimates with confidence levels or sampling errors

associated with sampled data, but, rather, are the actual values which describe SeAH’s pricing

behavior.” Id. Whether the Cohen’s d test is applied to a sample or a full population of data is



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important because statistical significance (and the associated concepts of normality, sufficient

observation size, and equal variances) comes into play only when estimating effect size based on

sampled data. Commerce’s use of the Cohen’s d test to calculate the actual effect size based on

the entire universe of a respondent’s U.S. sales does not violate the assumptions that relate to the

test’s application to sampled data.

        Third, Commerce addressed why Dr. Cohen’s thresholds are useful to interpret the effect

size and the extent of the price differences in the differential pricing analysis. Id. at 16-19.

Commerce observed that the Federal Circuit has previously held that the large 0.8 threshold is a

reasonable measure to identify significant price differences. Id. at 16 (citing Mid Continent Steel

& Wire, Inc. v. United States, 940 F.3d 662, 673 (Fed. Cir. 2019)); see also Stupp II, 5 F.4th at

1356-57 (referencing Mid Continent as controlling precedent and declining to reconsider the

reasonableness of selecting 0.8 as the cutoff to determine which sales pass the Cohen’s d test).

The live issue with respect to the 0.8 threshold in this case is narrow. In Stupp II, the Federal

Circuit expressed a concern that the 0.8 threshold may be rendered meaningless if the Cohen’s d

test is used in a manner that does not observe the assumptions of normality, sufficient

observation size, and equal variances. See 5 F.4th at 1360. In the Remand Redetermination,

Commerce explained that Dr. Ellis, a professor of statistical research methods who has authored

publications on effect size and the Cohen’s d test, regards Dr. Cohen’s thresholds as one of three

ways to interpret effect size and has stated that Dr. Cohen’s thresholds are widely accepted. See

Remand Redetermination at 17 (citing publication by Dr. Ellis at Remand P.R. 13). The

statistical literature does not tie the usefulness of the thresholds to the criteria for statistical

significance that apply to sampled data. As the Remand Redetermination correctly points out, Dr.

Cohen’s thresholds are “derived from real-world observations,” and the 0.8 threshold has been



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described as “the difference in IQ of a PhD graduate and a college freshman, the difference in IQ

between a college graduate and a student with only a 50-50 chance of passing high school, or the

difference in height between 13 and 18 year-old girls.” Id. at 18 (citing publications by Dr.

Cohen and Dr. Ellis at Remand P.R. 8 and Remand P.R. 13). For this reason, Commerce

concluded that the thresholds (including the large 0.8 threshold) are an acceptable way to

measure the extent of the price differences and identify sales with prices that differ significantly.

       Fourth, Commerce reviewed the statistical literature specifically referenced in Stupp II

and confirmed that the assumptions of normality, sufficient observation size, and equal variances

concern the application of the Cohen’s d test to sampled data and need not be followed when

Commerce uses the Cohen’s d test to examine a respondent’s entire dataset of sales to the United

States. See id. at 19-25. Commerce reached this conclusion because each of the cited

publications (i.e., publications authored by Dr. Cohen, Dr. Grissom, Professor Coe, Dr. Lane, Dr.

Algina, and Dr. Li at Remand P.R. 8 and Remand P.R. 13) discuss the assumptions in the context

of sample data analysis and an estimation of effect size rather than calculating the actual effect

size using the entire population of data. See id. This interpretation of the evidence is reasonable

and should not be disturbed. Commerce further explained that there can be no concerns with bias

results (whether upward or downward) and potential false-positives when effect size is calculated

based on the entire population. See Remand Redetermination at 22-25.

       Finally, Commerce addressed why its use of the Cohen’s d test is not problematic even in

the Federal Circuit’s hypothetical scenario where there is a small number of observations and

little variance in the prices in the test and comparison groups. See Remand Redetermination at

25-33; see also Stupp II, 5 F.4th at 1359. As Commerce explained, the hypothetical presupposes

that there is a problem (i.e., bias or false positives) with Commerce’s use of the Cohen’s d test



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because it does not adhere to the conditions that apply to sample data analysis. See Remand

Redetermination at 26. But again, “Commerce’s application of the Cohen’s d test does not rely

on sampled data or on estimated parameters, but rather calculates the actual parameters,

including the Cohen’s d coefficient, of the U.S. prices which reflects the actual measure of the

significance of the difference in prices between the test and comparison groups.” Id. at 28.

Congress has not defined “significantly” as that term is used in 19 U.S.C. § 1677f-1(d)(1)(B),

and Commerce has reasonably filled that gap in the statute by defining significance based on the

results of the Cohen’s d test, a generally recognized statistical measure of effect size, and the

test’s widely-accepted large 0.8 threshold that signifies a grossly perceptible difference. Id. at 30.

This interpretation recognizes that “there are many possible definitions of significance ranging

from qualitative to quantitative measures.” Id. It also takes into account the possibility that, as

explained in the Statement of Administrative Action Accompanying the Uruguay Round

Agreements Act, “small differences may be significant for one industry or one type of product.”

H.R. Rep. No. 103-316, vol. 1, at 843, reprinted in 1994 U.S.C.C.A.N. 4040, 4178 (“SAA”); see

also 19 U.S.C. § 3512(d) (regarding the SAA as an authoritative interpretation and application of

the antidumping duty law). The Federal Circuit previously has endorsed Commerce’s rationale

that “even a small absolute difference in the means of the two groups can be significant (for the

present statutory purpose) if there is a small enough dispersion of prices within the overall pool

as measured by a proper pooled variance or standard deviation.” Mid Continent, 940 F.3d at 673.

As Commerce explained, the “overall premise” of effect size is that “the significance of the

difference between the means of the two groups is based on the variation of the underlying data,”

and “as the variance of either or both the test and comparison groups is made smaller and




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smaller, the denominator will be reduced and the calculated effect size will increase.” Remand

Redetermination at 26 n.90.

       Commerce also emphasized that the Cohen’s d test is a preliminary step in the analysis

and that the existence of significant price differences alone does not result in the application of

an alternative comparison method in the dumping margin calculations. See Remand

Redetermination at 30-33. In fact, Commerce found that it applied the alternative average-to-

transaction method to roughly 20 percent of all respondents with calculated rates in final

determinations issued in calendar year 2015 (the year of the Final Determination) and calendar

year 2021 (the most recent calendar year prior to the Remand Redetermination). See id. at 32 and

Attach. 1. Thus, the frequency with which Commerce applies some form of the average-to-

transaction method indicates that the Cohen’s d test is not finding significant price differences

where none exist and does not result in artificially inflated dumping margins.

       For all of these reasons, Commerce has sufficiently addressed the Federal Circuit’s

concerns and reasonably explained that the statistical concepts of normality, sufficient

observation size, and equal variances do not need to be followed when the Cohen’s d test is used

as part of the differential pricing analysis in less-than-fair-value investigations. The Court should

sustain the Remand Redetermination because it complies with the remand order, is supported by

substantial evidence, and is otherwise in accordance with law.

III.   SeAH’s Objections to Commerce’s Use of the Cohen’s d Test Are Unavailing

       Although SeAH disagrees with Commerce’s explanation on remand and would prefer a

recalculated dumping margin without any application of the average-to-transaction method,

SeAH has failed to demonstrate that Commerce’s explanation was inadequate or that it failed to

address the Federal Circuit’s concerns in Stupp II about the reasonableness of using the Cohen’s



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d test to identify whether a respondent’s prices differ significantly among purchasers, regions, or

time periods. For the reasons set forth below, the Court should reject each of SeAH’s arguments

and sustain the Remand Redetermination.

       A.       The Court Should Disregard Certain Materials Cited in SeAH’s Comments
                Because Judicial Review Is Limited to the Administrative Record

       As an initial matter, SeAH’s comments discuss certain materials that were not on the

administrative record of the investigation or any of the remand proceedings. Specifically,

Welspun Tubular has identified the following portions of SeAH’s comments that discuss non-

record evidence:

      Page 7 and footnote 18:
               Hedges and Olkin, Overlap Between Treatment and Control Distributions as an
                Effect Size Measure in Experiments, 21:1 PSYCHOLOGICAL METHODS 61 (2016)
               Huberty and Lohman, Group Overlap as a Basis for Effect Size, 60:4
                EDUCATIONAL AND PSYCHOLOGICAL MEASUREMENT 543 (2000)
      Pages 8-9 (including block quote) and footnote 22:
               Ricca and Blaine, Notes on a Nonparametric Estimate of Effect Size, 90:1
                JOURNAL OF EXPERIMENTAL EDUCATION 249 (2022)
               1 Oxford Handbook of Quantitative Methods 388 (2013)
      Page 12 (including block quote) and footnotes 32 and 33:
               J. Cohen, A Power Primer, 112:1 PSYCHOLOGICAL BULLETIN 155 (1992)
      Page 25 and footnote 53:
               F. Alvarez, A. Atkeson, and P. Kehoe, If Exchange Rates Are Random Walks,
                Then Almost Everything We Say About Monetary Policy is Wrong, FEDERAL
                RESERVE BANK OF MINNEAPOLIS RESEARCH DEPARTMENT STAFF REPORT (2007).

None of these materials are on the record before the Court. In fact, SeAH’s citations to these

materials do not include any reference to a public or confidential record document.

       The Court’s review is limited to the administrative record before Commerce. See 19

U.S.C. § 1516a(b)(2); see also Camp v. Pitts, 411 U.S. 138, 142 (1973) (“{T}he focal point for

judicial review should be the administrative record already in existence, not some new record


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made initially in the reviewing court.”); Qingdao Sea-Line Trading Co., Ltd. v. United States,

766 F.3d 1378, 1385 (Fed. Cir. 2014) (“Our review is limited to the record before Commerce in

the particular review proceeding at issue and includes all evidence that supports or detracts from

Commerce’s conclusion.”). SeAH has not asserted any reason why the Court should go beyond

the administrative record and consider these materials in its review of the Remand

Redetermination. Indeed, SeAH has not shown that the record is in any way incomplete or

alleged that bad faith or improper behavior on the part of the Government requires

supplementation of the record. See JSW Steel (USA) Inc. v. United States, 466 F. Supp. 3d 1320,

1328-29 (Ct. Int’l Trade 2020). Therefore, the Court should disregard any portion of SeAH’s

comments that discuss non-record materials.

       B.      The Court Should Deny SeAH’s Request for a Blanket Exception to the
               Exhaustion Requirement

       SeAH requests the Court to grant it a blanket exception to the statutory requirement to

exhaust administrative remedies. See SeAH’s Comments at 5-6. In doing so, SeAH concedes that

it is raising not just one but numerous arguments for the first time before this Court.4 Counsel for

Welspun Tubular is not aware of any case in which this Court previously has granted a litigant

such a broad exception to the statutory requirement to exhaust all administrative remedies. See

28 U.S.C. § 2637(d). Generally, this Court takes a “strict view” of the exhaustion requirement in

cases that challenge Commerce’s antidumping duty determinations. See Corus Staal BV v.

United States, 502 F.3d 1370, 1379 (Fed. Cir. 2007). There are limited exceptions to the

exhaustion requirement, such as when “the party had no opportunity to raise the issue before the

agency.” Essar Steel, Ltd. v. United States, 753 F.3d 1368, 1374 (Fed. Cir. 2014) (internal


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    In the sections below, we directly respond to SeAH’s substantive arguments and identify
    which specific arguments SeAH failed to exhaust at the administrative level.

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quotations omitted). SeAH does not claim that it had no opportunity to raise its arguments but

merely complains that it had insufficient time to prepare its comments on the draft remand

redetermination despite receiving extensions of time to do so. Absent a showing that one of the

few and narrow exceptions applies to each unexhausted argument, the Court should take a strict

view of the exhaustion doctrine and decline to address arguments that SeAH did not properly

raise at the agency level.

       C.      Commerce Reasonably Concluded That Normality, Sufficient Observation
               Size, and Roughly Equal Variances Relate to the Statistical Significance of
               Results Based on Sample Data and Do Not Apply to Commerce’s Use of the
               Cohen’s d Test

       As demonstrated above, Commerce reasonably concluded that while the statistical

concepts of normality, sufficient observation size, and roughly equal variances are relevant when

applying the Cohen’s d test to sampled data to ensure the estimated effect size is statistically

significant, they do not need to be followed when Commerce applies the Cohen’s d test to the

entire universe of a respondent’s U.S. sales in less-than-fair-value investigations. SeAH asserts

that Commerce has not identified anything in the statistical literature on the record that addresses

the application of the Cohen’s d test to an entire population of data. SeAH’s Comments at 6-10.

SeAH’s argument suggests that Commerce’s choice in methodology to fill a gap in the statute is

reviewed for substantial evidence. However, the Federal Circuit stated that “the relevant standard

for reviewing Commerce’s selection of statistical tests and numerical cutoffs is reasonableness,

not substantial evidence.” Stupp II, 5 F.4th at 1353.

       Further, in arguing that Commerce’s explanation is not supported by the factual record,

SeAH demands more than what substantial evidence requires. The substantial evidence standard

asks “‘whether the evidence and reasonable inferences from the record’” support the agency’s

conclusion. See Daewoo Elec. Co. v. United States, 6 F.3d 1511, 1520 (Fed. Cir. 1993) (quoting


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Matsushita Elec. Indus. Co. v. United States, 750 F.2d 927, 933 (Fed. Cir. 1984)) (emphasis

added). Commerce drew a reasonable inference from the evidence on the record in concluding

that the limits that exist to ensure that a sample statistically represents the entire population need

not be followed when the entire population (and not a sample) is being examined.

        Dr. Ellis has explained that “‘{t}he best way to measure an effect is to conduct a census

of an entire population but this is seldom feasible in practice.’” Remand Redetermination at 13

(quoting publication by Dr. Ellis at Remand P.R. 13). Because it typically is not possible to

measure effect size in what Dr. Ellis described as the best way by applying a test like the

Cohen’s d test to an entire population of data, it is not surprising that the statistical publications

on the record provide guidance to researchers regarding the proper methods for estimating effect

size based on sampled data. In assessing the record, Commerce observed that the publications

discuss the parameters of normality, sufficient observation size, and roughly equal variances in

the context of statistical significance and estimations of effect size based on a representative

sample of data from a larger population. Commerce then made a logical and reasonable inference

that the parameters to estimate effect size using sampled data do not apply when the Cohen’s d

test is used to calculate actual effect size based on an entire population as Commerce does in its

differential pricing analysis. On the other hand, as Commerce stated, “SeAH seeks to impose

limitations that exist to ensure that a sample accurately estimates the entire population in the

context of the Cohen’s d test that Commerce applies to the entire population of U.S. prices.” Id.

at 51-52. The limitations that SeAH seeks to impose do not apply here, and Commerce’s

conclusion to this effect is supported by the record evidence and reasonable inferences that

Commerce drew from the record evidence. SeAH has not demonstrated otherwise.




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       SeAH also states, in a footnote, that it is questionable whether Commerce uses the

Cohen’s d test to examine the entire population of data rather than a sample. See SeAH’s

Comments at 7 n.18. SeAH failed to exhaust its administrative remedies by not including this

argument in its comments filed with Commerce on the draft remand redetermination. See

Remand Redetermination at 49-50 (“{T}he U.S. price data used in the Differential Pricing

Analysis generally, and in the Cohen’s d test specifically, include the full population of U.S.

sales prices. SeAH has not contested this fact, let alone provided evidence or argument to the

contrary.”); see also Nan Ya Plastics Corp. v. United States, 810 F.3d 1333, 1350 (Fed. Cir.

2016) (applying the exhaustion doctrine and requiring appellant to raise argument in

administrative draft remand comments). Further, it is well-settled that substantive arguments

raised in footnotes are deemed waived. See SmithKline Beecham Corp. v. Apotex Corp., 439 F.3d

1312, 1320 (Fed. Cir. 2006); see also Tianjin Wanhua Co., Ltd. v. United States, 179 F. Supp. 3d

1062, 1067 (Ct. Int’l Trade 2016) (“{T}he court does not entertain substantive arguments raised

in footnotes.”). Regardless, SeAH is wrong on the merits of this argument because Commerce

explained that “the sales to the test group and the sales to the comparison group are not sampled

and each constitutes separate populations of sales prices, each of which represents all the sales of

the comparable merchandise to each group.” Remand Redetermination at 15. For example, when

examining sales by time period, the test group includes the entire population of sales made

during the first quarter and the comparison group includes the entire population of sales made

during the other three quarters of the period being examined. Thus, Commerce applies the test to

the full population of a respondent’s prices for both groups. Id. at 49.




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       D. SeAH’s Arguments Against Commerce’s Use of Dr. Cohen’s Large Threshold
          Are Baseless

       Commerce addressed the specific concern the Federal Circuit raised regarding Dr.

Cohen’s thresholds and explained why it is appropriate for Commerce to use them to interpret

the effect size and the magnitude of the price differences identified by the Cohen’s d test in the

differential pricing analysis. See id. at 16-19. SeAH maintains, however, that Dr. Cohen’s

thresholds were developed to be used with normal distributions and that Commerce has not

justified its use of the thresholds with non-normal data in the differential pricing analysis. See

SeAH’s Comments at 10-11. In so doing, SeAH seeks to impose a limit on the use of the

thresholds where none exists.

       Commerce explained that “Dr. Cohen specified no limitations for the use of his proposed

thresholds to the interpretation of the calculated value of effect size.” Remand Redetermination

at 52. The thresholds were derived from real-world observations and not based on a statistical

analysis or mathematical calculation as SeAH suggests. Dr. Cohen illustrated the differences

between the thresholds by using differences in IQ and height purely as examples. Contrary to

SeAH’s contentions, by using IQ and height as illustrative examples, Dr. Cohen did not in any

way limit the usefulness of the thresholds as “rules-of-thumb designed for use with heights and

IQs and other Normally-distributed data.” SeAH’s Comments at 15. Dr. Cohen explained that the

thresholds are relative and serve as operational definitions. See Remand Redetermination at 52

(citing publication by Dr. Cohen at Remand P.R. 13). For example, the large threshold used by

Commerce in the differential pricing analysis represents a “grossly perceptible” difference. Id.

Thus, SeAH’s assertion that Commerce was required to “point to some reason for expecting




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SeAH’s prices to have the same inherent characteristics as the height and IQ data considered by

Professor Cohen” is without merit. SeAH’s Comments at 14.

       E.      The Reasons Why Prices Differ Significantly Among Purchasers, Regions, or
               Time Periods Are Not Relevant

       Without citing to any authority, SeAH asserts that the statute requires Commerce to

“distinguish between differences that have meaning and those that arise by chance.” SeAH’s

Comments at 21. In the Remand Redetermination, Commerce explained that “{i}f the

respondent’s prices to purchaser A differ significantly as a matter of ‘practical significance’ from

prices to all other purchasers, neither the statute nor academic literature require an additional step

of demonstrating an element of causation.” Remand Redetermination at 46-47. The Federal

Circuit has already ruled that 19 U.S.C. § 1677f-1(d)(1)(B) does not require, as a precondition to

the application of the alternative average-to-transaction method, that Commerce “determine the

reasons why there is a pattern of export prices for comparable merchandise that differs

significantly among purchasers, regions, or time periods.” JBF RAK, 790 F.3d at 1368. Simply

put, Commerce is under no obligation to determine whether the significant price differences

identified by the Cohen’s d test may have occurred by chance or at random.

       Commerce went a step further and explained that the price differences for SeAH could

not be the result of chance, stating that “{a} company’s pricing behavior is foundationally based

on corporate strategies and goals, including maximizing profit, within the bounds of supply and

demand in the marketplace.” Remand Redetermination at 45. SeAH itself reported that it was

heavily involved in market research, and, thus, its sales prices reflect the company’s market

research and deliberative pricing decisions. Id. SeAH casts Commerce’s explanation as

“woefully simplistic” but also seemingly concedes that the company’s prices are the outcome of

SeAH’s negotiations with its customers. See SeAH’s Comments at 23. SeAH states that the


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negotiations may be affected by “random factors,” but none of the cited factors are truly random.

They are more accurately characterized as factual circumstances surrounding the negotiation

process that inform the purchaser’s decision to buy and the seller’s decision to sell. Ultimately,

SeAH decides to sell subject merchandise at the negotiated price. SeAH also fails to recognize

the importance of the fact that Commerce used the Cohen’s d test to examine the entire

population of SeAH’s U.S. sales. The resulting Cohen’s d coefficient is the actual measure of

effect size, not an estimation. The bottom line is that “there is no chance that these results are

somehow inaccurate or unrepresentative of SeAH’s U.S. pricing behavior.” Remand

Redetermination at 50.

       F.      SeAH’s Other Attempts to Discredit Commerce’s Explanation Fail to
               Identify a True Flaw in the Ability of the Cohen’s d Test to Identify and
               Measure the Magnitude of Price Differences Among Purchasers, Regions, or
               Time Periods

       SeAH claims that “evidence on the record confirms that SeAH’s net U.S. prices (as

calculated by Commerce for use in its Cohen’s d analysis) were directly affected by at least one

random factor.” SeAH’s Comments at 24. Specifically, SeAH argues that Commerce converted

prices using daily exchange rates between the Korean Won and U.S. dollar, and “random

fluctuations in exchange rates would necessarily have an impact on the observed U.S. prices,

even if the respondent were to set its prices at a fixed and inflexible level that did not vary by

customer, time period, or region.” Id. at 25. SeAH is making this argument for the first time

before this Court despite having an opportunity to raise the issue before Commerce in its

comments on the draft remand redetermination. By failing to exhaust its administrative remedies,

SeAH has waived the argument.

       Nonetheless, SeAH’s hypothetical scenario is of no moment because exchange rates do

not represent a random factor. Commerce acknowledged that some factors, such as exchange


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rates, may not be controlled by the seller but explained that these factors remain relevant because

they are used for determining the net U.S. price in dumping calculations and should also be used

for determining the net U.S. price in the differential pricing analysis. See Remand

Redetermination at 59. In other words, it makes sense to make the same adjustments to the U.S.

price for the differential pricing analysis that would need to be made in the dumping calculations.

The Federal Circuit has found a similar explanation reasonable in affirming the meaningful

difference test. See Apex, 862 F.3d at 1349 (“At the very least, we cannot say that Commerce’s

meaningful difference analysis is unreasonable—intuitively, an analysis that compares the

methodologies as they would ultimately be applied ‘makes sense.’”). SeAH’s hypothetical

scenario also does not constitute actual evidence that Commerce’s application of the Cohen’s d

test in the underlying investigation was distortive and unreasonable. See NSK Ltd. v. United

States, 190 F.3d 1321, 1328 (Fed. Cir. 2003); Timken v. United States, 240 F. Supp. 2d 1228,

1236 (Ct. Int’l Trade 2002). SeAH reported the gross unit prices for its sales in U.S. dollars, and

while it was necessary to convert certain expenses from Korean Won to U.S. dollars (e.g.,

movement expenses incurred in Korean Won), SeAH does not assert that the sales prices and all

other necessary adjustments to the sales prices were identical such that the currency conversion

actually had the effect that SeAH describes in its hypothetical. See SeAH’s Section C

Questionnaire Response at 20 and Appendix C-2, P.R. 121 (Feb. 2, 2015) (explaining that the

gross unit price per metric ton for each U.S. sale reflects the actual invoice amount in U.S.

dollars).

        SeAH also argues that Commerce violated 19 U.S.C. § 1677b-1(a) because the

differential pricing analysis did not ignore fluctuations in the exchange rates. See SeAH’s

Comments at 28. Again, SeAH did not raise this specific argument in its draft remand comments



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submitted to Commerce and thus failed to exhaust its administrative remedies. If the Court

ultimately decides to consider the issue, which it should not, Commerce complied with the

requirement that foreign currencies be converted into U.S. dollars “using the exchange rate in

effect on the date of sale of the subject merchandise.” 19 U.S.C. § 1677b-1(a); see also Viraj

Grp., Ltd. v. United States, 343 F.3d 1371, 1377-78 (Fed. Cir. 2003). The statute does state that

“{f}luctuations in exchange rates shall be ignored,” but Commerce has specified the scenarios

where fluctuations in daily exchange rates exist and should be ignored. See Notice: Change in

Policy Regarding Currency Conversions, 61 Fed. Reg. 9,434 (Dep’t Commerce Mar. 4, 1996);

Lightweight Thermal Paper from the People’s Republic of China, 73 Fed. Reg. 57,329 (Dep’t

Commerce Oct. 2, 2008), and accompanying Issues and Decision Memorandum at Comment 6.

SeAH has not explained why it is the case that during the period of investigation the daily

exchange rate between the Korean Won and the U.S. dollar involves the type of fluctuation that

should be ignored. Accordingly, SeAH has not demonstrated that Commerce’s currency

conversions in determining the U.S. prices for purposes of the differential pricing analysis were

inconsistent with the statute.

       Using an example of one customer and one product that passed the Cohen’s d test in

Commerce’s calculations for SeAH in the Final Determination, SeAH argues that an

“examination of SeAH’s actual prices in this case demonstrates that Commerce has found a

‘large’ effect even when the price differences are not visually discernible” and that “{v}isual

inspection of the actual individual sales prices … does not reveal any actual pattern by

customer.” SeAH’s Comments at 15 and 18. SeAH misunderstands the purpose for which

Commerce uses the Cohen’s d test in its differential pricing analysis. As Commerce explained,

“Commerce applies the Cohen’s d test to determine whether prices differ significantly.” Remand



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Redetermination at 54. To determine the existence of a pattern, Commerce uses “a different test,

the ratio test, which assesses whether the extent of prices that differ significantly constitute a

pattern.” Id. These two distinct components of the differential pricing analysis work in tandem to

address the statutory criteria under 19 U.S.C. § 1677f-1(d)(1)(B)(i).

       And SeAH is wrong that the Cohen’s d test generated a “false-positive” when it

examined SeAH’s sales of control number 1-03-03-06-1 to customer 102020 and to all other

customers. SeAH conducts no statistical analysis whatsoever and concludes based on a

subjective eye test that the prices to customer 102020 are “clustered precisely in the middle of

the prices for sales of that product to other customers.” SeAH’s Comments at 18. The Cohen’s d

test determines whether price differences are significant in relation to the variances of the

individual sales prices within the test and comparison groups:

       The concept of effect size takes into account the language of the SAA, which
       states Commerce will proceed on a case-by-case basis, because small differences
       may be significant for one industry or one type of product, but not for another.
       When the variation in prices is used to gauge whether the difference in prices is
       significant, then the yardstick used to measure the difference are the prices
       themselves. When there is a large variation in the prices within the groups of
       prices, then it requires a larger difference in the mean prices to find that the
       difference is significant than if the variation in the prices within the groups of
       prices were small, which would require a smaller difference in the mean prices to
       find the same level of significance. Thus, the difference is measured specific to
       the industry, product, and the individual company because it is based on the prices
       of the industry, product, and company themselves whose difference is being
       gauged.

Remand Redetermination at 55 (internal quotations and footnotes omitted). SeAH’s example

using the prices to customer 102020 simply shows that whether price differences are found to be

significant under the Cohen’s d test depends on the variances of the prices in each of the two

populations being compared. Where the variances are small, this means that a small difference in

the means will be considered more significant. SeAH states that the difference is not even visible



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to the naked eye but does not deny that there are fluctuations in SeAH’s sales prices. See SeAH’s

Comments at 19. Commerce uses the Cohen’s d test and Dr. Cohen’s thresholds to interpret the

data and objectively assess whether the price fluctuations among customers are significant or

insignificant. The difference in the weighted-average prices in SeAH’s example was found to be

significant (i.e., the Cohen’s d coefficient exceeded the 0.8 large threshold) based on the variance

of the sales prices to customer 102020 and the variance of the sales prices to other customers.

SeAH has not shown that Commerce’s application of the Cohen’s d test in this case led to

unreasonable results.

       Additionally, despite SeAH’s contentions, Commerce’s use of the Cohen’s d test does not

generate “false-positives” because “{t}he analysis involves the entire population and does not

involve samples or estimates.” Remand Redetermination at 59. SeAH overlooks that Commerce

uses the Cohen’s d test to calculate the actual effect size using the entire population of a

respondent’s U.S. sales rather than an estimation of effect size based on sampled data. Id. As

Commerce explained, “the means, standard deviations, and Cohen’s d coefficients calculated for

SeAH are not estimates with confidence levels or sampling errors associated with sampled data,

but, rather, are the actual values which describe SeAH’s pricing behavior.” Id. at 16.

Accordingly, the entire premise of SeAH’s arguments that “false-positives” may contribute to

the decision to use the alternative average-to-transaction methodology is fundamentally flawed.

See SeAH’s Comments at 30-33.

       Finally, SeAH contests Commerce’s analysis of the investigations from 2015 and 2021

and the conclusion that the alternative average-to-transaction method has been applied to roughly

20 percent of all respondents with calculated rates. SeAH offers its own analysis of

investigations from 2015 through 2021 to argue that “the effect of the {differential pricing



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analysis} varied considerably from year to year, with the usage of alternative comparisons

peaking at 48.57 percent in 2017.” Id. at 34. SeAH had the opportunity to submit its rebuttal

analysis in its comments on the draft remand redetermination, but it failed to do so. See Remand

Redetermination at 61. In any event, when looking at the totals for 2015 through 2021 rather than

any individual year, SeAH’s table summary shows that Commerce applied some form of the

average-to-transaction method to less than 25 percent of respondents with calculated rates (70

out of 288). See SeAH’s Comments at 34. This percentage is consistent with Commerce’s

analysis of investigations in 2015 and 2021.

       SeAH also states that “Commerce’s use of the {differential pricing analysis} transformed

de minimis dumping margins into affirmative determinations of dumping in more than 50 percent

of the investigations in which there would have been a negative determination under the A-to-A

methodology.” Id. at 35. This statement appears to be a collateral attack on the meaningful

difference test, which must fail because this specific component of the differential pricing

analysis is not an issue before the Court and the Federal Circuit has already ruled that the

meaningful difference test is reasonable. See Apex, 862 F.3d at 1346. If there is a meaningful

difference because the margin calculated using the average-to-average method is de minimis and

the margin calculated using the average-to-transaction method crosses the de minimis threshold,

then the average-to-average method is unable to uncover the masked dumping that was occurring

as revealed by the average-to-transaction method. The margin is not “transformed” from de

minimis to non-de minimis in these scenarios. SeAH’s analysis of past investigations shows that

the results of the differential pricing analysis drive which comparison method should be used to

determine a respondent’s dumping margin. However, the analysis does not identify any flaw in

the Cohen’s d test and its ability to determine whether prices differ significantly.



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                                       CONCLUSION

       For the foregoing reasons, Commerce’s Remand Redetermination complies with the

Court’s remand order, is supported by substantial evidence, and is otherwise in accordance with

law. Accordingly, Welspun Tubular respectfully requests that the Court sustain the Remand

Redetermination.



                                                    Respectfully submitted,

                                                    /s/ Roger B. Schagrin
                                                    Roger B. Schagrin
                                                    Jeffrey D. Gerrish
                                                    Saad Y. Chalchal*
                                                    SCHAGRIN ASSOCIATES
                                                    900 Seventh St. N.W., Suite 500
                                                    Washington, D.C. 20001
                                                    (202) 223-1700

                                                    Counsel for Welspun Tubular LLC USA

Date: August 15, 2022                               *Only admitted in New York and New
                                                    Jersey. Practice limited to matters before
                                                    federal courts and agencies.




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                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing reply contains 9,655 words (including text, quotations,
footnotes, headings, and attachments) and therefore complies with the word limitation set forth
in this Court’s Chamber’s Procedures. In preparing this certificate of compliance, I have relied
upon the word count function of the word processing system used to prepare the brief.



Dated: August 15, 2022                                      /s/ Roger B. Schagrin
                                                              Roger B. Schagrin
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                      UNITED STATES COURT OF INTERNATIONAL TRADE
                        Before the Honorable Claire R. Kelly, Judge

                                    )
STUPP CORPORATION, IPSCO            )
TUBULARS INC., and WELSPUN          )
TUBULAR LLC USA,                    )
                                    )
      Plaintiffs,                   )
                                    )
              and                   )
                                    )
MAVERICK TUBE CORPORATION,          )
                                    )
      Plaintiff-Intervenor,         )
                                    )
              v.                    )                       Consol. Court No. 15-00334
                                    )
UNITED STATES,                      )
                                    )
      Defendant,                    )
                                    )
              and                   )
                                    )
SEAH STEEL CORPORATION and          )
HYUNDAI STEEL COMPANY,              )
                                    )
      Defendant-Intervenors.        )
____________________________________)

                                            ORDER

       Upon consideration of the U.S. Department of Commerce’s Final Results of

Redetermination Pursuant to Court Remand, ECF No. 208-1, the comments opposing the remand

redetermination filed by SeAH Steel Corporation, the responses thereto filed in support of the

remand redetermination, the administrative record, all other papers and proceedings herein, and

upon due deliberation, it is hereby

       ORDERED that the remand redetermination is sustained; and it is further

       ORDERED that judgment is entered in favor of the United States.
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         SO ORDERED.


                                            ____________________________________
                                             Honorable Claire R. Kelly, Judge
                                             U.S. Court of International Trade
Dated:                         , 2022
         New York, New York




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